  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 1 of 26




                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG         §        MDL No. 2179
“DEEPWATER HORIZON” in the              §
GULF OF MEXICO,                         §        SECTION: J
on APRIL 20, 2010                       §
                                        §      JUDGE BARBIER
          Applies to:                   §
                                        §   MAG. JUDGE SHUSHAN
                            All cases   §
and No. 10-2771. No. 10-4536, No. 11-   §
1054, and No. 11-1986
________________________________

  MEMORANDUM IN SUPPORT OF HALLIBURTON ENERGY SERVICES, INC.'S
               MOTION FOR SUMMARY JUDGMENT
                 REGARDING INDEMNITY ISSUES
       Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 2 of 26




                                                            Table of Contents

Index of Authorities ........................................................................................................................ ii

I.         Procedural Background........................................................................................................1

II.        Facts .....................................................................................................................................2

           A.         The BP-HESI Indemnity Agreement .......................................................................2

           B.         Indemnity for Blowout and Uncontrolled Well Event Claims ................................3

           C.         Pollution Claims.......................................................................................................4

           D.         Unlimited Nature of BP's Indemnity Obligation .....................................................5

           E.         HESI's Indemnification Request..............................................................................6

III.       HESI is Entitled to Summary Judgment Enforcing BP's Indemnity Obligations................8

IV.        Standard of Review..............................................................................................................8

V.         Argument .............................................................................................................................8

           A.         HESI is Entitled to Indemnity Despite the Contribution Claims Between the
                      Parties.......................................................................................................................9

           B.         HESI is Entitled to Indemnity Against Contribution Claims Under OPA.............10

           C.         Allegations of Gross Negligence Do Not Nullify BP's Indemnity Obligations. ...11

           D.         Allegations of Breach of Contract Do Not Nullify BP's Indemnity Obligations...15

           E.         Allegations of Fraud Do Not Nullify BP's Indemnity Obligations........................16

VI.        Conclusion and Prayer .......................................................................................................19




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                                                    PAGE i
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 3 of 26




                                                     Index of Authorities

                                                                                                                              Page(s)
CASES

Atel Mar. Invs. v. Sea Mar Mgmt.,
    No. 08-1700, 2010 U.S. Dist. Lexis 47834 (E.D. La. 2010) ...................................................16

Atlantic Richfield Co. v. Petroleum Personnel, Inc.
    768 S.W.2d 724 (Tex. 1989)....................................................................................................12

Baton Rouge Oil & Chem. Workers Union v. ExxonMobil Corp.,
   289 F.3d 373 (5th Cir. 2002) .....................................................................................................8

Becker v. Tidewater, Inc.,
   586 F.3d 358 (5th Cir. 2009) .............................................................................................13, 15

Bermuda Container Line Ltd. v. Int'l Longshoremen's Association,
   192 F.3d 250 (2d Cir. 1999).....................................................................................................16

Boykin v. China Steel Corp.,
   73 F.3d 539 (4th Cir. 1996) .......................................................................................................9

Bridges v. Metabolife Int'l, Inc.,
   119 Fed. Appx. 660 (5th Cir. 2005).........................................................................................16

Brown v. Sea Mar Mgmt. L.L.C..,
   288 Fed. Appx. 922 (5th Cir. 2008).........................................................................................18

Cargill Ferrous Int'l Div. v. M/V Princess Margherita,
   No. 98-3825, 2001 U.S. Dist. LEXIS 19033 (E.D. La. 2001) ...................................................9

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986)...................................................................................................................8

Clement v. Marathon Oil Co.,
   724 F. Supp. 431 (E.D. La. 1989)............................................................................................11

Constitution State Ins. Co. v. Iso-Tex, Inc.,
   61 F.3d 405 (5th Cir. 1995) .......................................................................................................8

Davaco, Inc. v. Dunkin' Brands, Inc.,
   No. 3:08-cv-0581-M, 2008 U.S. Dist. LEXIS 95356 (N.D. Tex. 2008) .................................17

Diesel Repower, Inc. v. Islander Invs. Ltd.,
   271 F.3d 1318 (11th Cir. 2001) ...............................................................................................16

English v. BGP Int'l, Inc.,
   174 S.W.3d 366 (Tex App.—Houston [14th Dist.] 2005, no pet.)..........................................12

HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                                        PAGE ii
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 4 of 26




Fairfield Ins. Co. v. Stephens Martin Paving, LP,
   246 S.W.3d 653 (Tex. 2008)....................................................................................................12

First Jersey Nat'l Bank v. Dome Petroleum Ltd.,
    723 F.2d 335 (3d Cir. 1983).....................................................................................................13

Houston Exploration Co. v. Halliburton Energy Services, Inc.,
   269 F.3d 528 (5th Cir. 2001) ...................................................................................................13

In re Horizon Vessels, Inc.,
    No. H-03-3280, 2005 U.S. Dist. LEXIS 42110 (S.D. Tex. Nov. 18, 2005),
    opinion adopted as modified, 2005 U.S. Dist. LEXIS 42117
    (S.D. Tex. Dec. 22, 2005) ..................................................................................................11, 14

Joslyn Mfg. Co. v. Koppers Co.,
    40 F.3d 750 (5th Cir. 1994) .....................................................................................................11

Kevin M. Ehringer Enters., v. McData Servs. Corp.,
   646 F.3d 321 (5th Cir. 2011) ...................................................................................................17

Marquette Transp. Co. v. Louisiana Mach. Co.,
  367 F.3d 398 (5th Cir. 2004) ...................................................................................................15

McDermott, Inc., v. AmClyde,
  511 U.S. 202 (1994)...................................................................................................................9

Pavone v. Mississippi Riverboat Amusement Corp.,
   52 F.3d 560 (5th Cir. 1995) .......................................................................................................1

Taylor v. Lloyd's Underwriters of London,
   972 F.2d 666 (5th Cir. 1992) ...................................................................................................12

Tesoro Petroleum Corp. v. Nabors Drilling USA, Inc.,
   106 S.W.3d 118 (Tex. App.—Houston [1st Dist.] 2002, pet. denied).....................................15

Todd Shipyards Corp. v. Turbine Service, Inc.,
   674 F.2d 401 (5th Cir. 1982) .............................................................................................12, 13

Trustees of the Northwest Laundry & Dry Cleaners Health & Welfare Trust Fund v.
   Burzynski, 27 F.3d 153 (5th Cir. 1994)....................................................................................16

Valley Health Systems, LLC v. Nurses ‘R’ Special, Inc.,
   No. 2:09-cv-1361, 2011 U.S. Dist. LEXIS 40216 (D. Nev. 2011)..........................................11

Webb v. Lawson-Avila Constr.,
  911 S.W.2d 457 (Tex. App. – San Antonio 1995, writ denied)...............................................12




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                                      PAGE iii
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 5 of 26




STATUTES

33 U.S.C.S. § 2710(a) (West. 1990) ..............................................................................................10

33 U.S.C.S. § 2710(b) (West 1990) ...............................................................................................10

33 U.S.C.S. § 2716(f)(1) (West 2010) ...........................................................................................10

OTHER AUTHORITIES

CORBIN ON CONTRACTS § 1472 (1964 ed.) ....................................................................................12

Fed. R. Civ. P. 56.............................................................................................................................8

Fed. R. Civ. P. 56(a) ........................................................................................................................8

Restatement (Second) of Contracts § 195(1) .................................................................................13




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                                            PAGE iv
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
      Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 6 of 26




           NOW INTO COURT, comes Halliburton Energy Services, Inc. ("HESI") and

respectfully files this Memorandum in Support of Its Motion for Summary Judgment Regarding

Indemnity Issues,1 and respectfully shows the Court as follows:

I.         Procedural Background

           On April 19, 2011, pursuant to a mandatory contractual venue clause, HESI filed in

Texas state district court a breach of contract and declaratory judgment suit ("HESI Contract

Action") against BP Exploration & Production, Inc. ("BPXP") based on BPXP's failure to

comply with the indemnity provisions of the Contract for Gulf of Mexico Strategic Performance

Unit Offshore Well Services, BPM-09-00255 (the "Contract") (attached as Exhibit A)2 between

BPXP and HESI. In its Original Petition (attached as Exhibit B), HESI asserted (1) a breach of

contract claim (Original Pet. ¶¶ 30-35), and (2) a request for declaratory judgment that BPXP has

a contractual duty to defend and indemnify HESI in litigation arising out of the Deepwater

Horizon incident (the "Incident") (Original Pet. ¶¶ 36-40). HESI's Contract Action relies upon

the specific indemnity language in the Contract, discussed infra, to support its argument that

BPXP has an undeniable duty to indemnify and defend HESI against virtually all claims arising

from the Incident. BPXP removed HESI's Contract Action to federal district court, following

which the Judicial Panel on Multi-District Litigation ("JPML") transferred the HESI Contract

Action to this Court for pre-trial proceedings. (2:11-cv-01986-CJB-SS).

           On April 20, 2011, after HESI filed its Contract Action, BPXP and BP America

Production Company (collectively "BP") filed in this Court its (1) Cross-Complaint and Third-

Party Complaint Against HESI (Dkt. No. 2082) in the MDL and Limitation proceedings and (2)
1
 Prior to the JPML's transfer of HESI's Contract Action to the MDL proceedings, HESI timely filed its Motion to
Remand. By filing this summary judgment motion, HESI does not waive its right to seek remand of this case to
Texas state court and notes its intent to preserve any rights to such remand as set out in its motion. See Pavone v.
Mississippi Riverboat Amusement Corp., 52 F.3d 560, 567-68 (5th Cir. 1995).
2
    Due to the length of the Contract, it is attached as several separate sections, all comprising Exhibit A.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                            PAGE 1
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
      Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 7 of 26




its Third-Party Complaint Against HESI (Dkt. No. 2083) in the DOJ suit.3 BP also filed a mirror

image suit in the federal district court for the Southern District of Texas which the JPML

ultimately transferred to this Court. (2:11-cv-01054-CJB-SS). In each of its filings, BP asserts

claims against HESI for fraud and fraudulent concealment relating to HESI's alleged

performance and representations under the Contract, negligence, gross negligence, contribution

under the Oil Pollution Act ("OPA"), and subrogation under OPA. One of the focuses of BP's

allegations is that BP's indemnity obligation under the Contract should be nullified.4

II.      Facts

         A.      The BP-HESI Indemnity Agreement

         On April 15, 2009, BP contracted with HESI to perform cementing operations and

provide certain other related support services in the Gulf of Mexico. Contract at p. 42. Among

other agreements in the Contract, the parties made commitments to indemnify each other in

particular circumstances. Id. at 20-24. Generally, BP agreed to indemnify HESI for any losses

or claims arising out of a blowout, any personal injury/wrongful death claims by BP employees,

any claims arising out of damage to BP's equipment, any claims or losses arising from pollution

or contamination, and any third party claims arising out of BP's negligence or breach of duty. Id.

at §§ 19.2, 19.3(b), 19.4(a), 19.6. While the Contract sets out numerous indemnity obligations

between BP and HESI, discussed infra, BP's unequivocal agreement to indemnify HESI for


3
  The "MDL proceeding" refers to MDL No. 2179, Cause No. 2:10-md-02179-CJB-SS. The "Limitation
proceedings" refers to the Limitation action instituted by the Transocean Entities, In re The Complaint and Petition
of Triton Asset Leasing GmbH et al., Cause No. 2:10-cv-02771-CJB-SS. The "DOJ suit" refers to the action
instituted by the United States in Cause No. 2:10-cv-004536-CJB-SS.
4
  HESI has previously filed with this Court its Motion to Dismiss pursuant to Fed. R. Civ. P. 21(b) (Dkt. No. 2941
and 2941-1) arguing, to the extent BP's claims address its indemnity obligations, they are compulsory counterclaims
to HESI's first-filed Contract Action, and should be dismissed and refiled as counterclaims in HESI's Contract
Action (2:11-cv-01986-CJB-SS). By filing this motion for summary judgment, HESI does not waive its arguments
regarding the nature of BP's claims or the procedurally proper method by which those claims should be brought.
However, if this Court grants HESI's motion for summary judgment, such ruling would likely moot many of HESI's
arguments in that regard.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                     PAGE 2
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 8 of 26




claims arising from a blowout and from pollution or contamination is applicable and controlling

regarding the Incident.

         B.       Indemnity for Blowout and Uncontrolled Well Event Claims

         The plain and unequivocal language of the Contract requires BP to defend and indemnify

HESI from virtually all claims arising out of the Incident, including a blowout or uncontrolled

well event. Pursuant to § 19.6 of the Contract, BP agreed to the following:

                  Subject to Clauses 19.1 and 19.4(b), but notwithstanding anything
                  contained elsewhere in the CONTRACT to the contrary,
                  COMPANY [BP] shall save, indemnify, release, defend and hold
                  harmless CONTRACTOR GROUP [HESI and its subcontractors]
                  against all claims, losses, damages, costs (including legal costs)
                  expenses and liabilities resulting from:

                                                          ….

                  (b) blowout, fire, explosion, cratering, or any uncontrolled well
                  condition (including the costs to control a wild well and the
                  removal of debris);

                  (c) damage to any reservoir, aquifer, geological formation or
                  underground strata or the loss of oil or gas therefrom . . . .

Contract at p. 22.5         BP's duty to indemnify HESI for claims arising from a blowout or

uncontrolled well condition applies "notwithstanding anything contained elsewhere in the

CONTRACT to the contrary." Id.

         There are certain exceptions to BP's obligation under § 19.6 contained in §§ 19.1 and

19.4(b) which require HESI to indemnify claims brought by HESI's employees (which

responsibility HESI originally accepted); claims arising out of damage to HESI's property or

equipment (which claims do not exist); and claims for pollution originating from HESI's property

and equipment located above the surface of the land or water (which claims are inapplicable

5
  BP's agreement to indemnify HESI "against all claims, losses, damages, costs (including legal costs) expenses and
liabilities resulting from" a blowout is all inclusive, and certainly broad enough to include both civil claims and civil
fines and penalties.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                         PAGE 3
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 9 of 26




here). Contract at pp. 20-22. Thus, like BP, HESI assumed certain indemnity obligations under

the Contract. The Contract represents the parties' bargained for allocation of risks associated

with the work to be performed under the Contract.

         C.       Pollution Claims

         In addition to BP's obligation under § 19.6(b) to indemnify HESI for claims resulting

from a blowout or uncontrolled well event, BP also agreed to indemnify HESI from any claims

arising from pollution or contamination, including contamination or pollution from the reservoir,

arising from or related to performance of the Contract. More specifically, under § 19.4(a) BP

agreed as follows:

                  Notwithstanding the provisions of Clause 19.3(a) and except as
                  provided by Clause 19.1(a), Clause 19.1(b), and Clause 19.4(b),
                  COMPANY [BP] shall save, indemnify, release, defend and hold
                  harmless CONTRACTOR GROUP [HESI and its subcontractors]
                  from and against any claim of whatsoever nature arising from
                  pollution and/or contamination including without limitation such
                  pollution or contamination from the reservoir or from the property
                  or equipment of COMPANY GROUP [BP and its affiliates]
                  arising from or related to the performance of the CONTRACT.

Contract at pp. 21-22. 6 As is the case with § 19.6, the noted exceptions relating to §§ 19.1 and

19.4(b) are inapplicable here. See supra.                Outside of these well-defined but inapplicable

exceptions, BP must indemnify HESI from claims arising from pollution or contamination from

the reservoir.

         Furthermore, the Agreement contains the following "FAIR NOTICE DISCLOSURE

STATEMENT" at the very beginning of the Contract:

                  BOTH PARTIES TO THIS CONTRACT ACKNOWLEDGE
                  THAT THIS STATEMENT COMPLIES WITH ANY
                  REQUIREMENT TO EXPRESSLY STATE LIABILITY FOR
                  NEGLIGENCE   OF  THE   INDEMNITEE   (EXPRESS
6
  BP's agreement to indemnify HESI for "any claim of whatsoever nature arising from pollution and/or
contamination" is likewise all inclusive, and broad enough to include both civil claims and civil fines and penalties.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                       PAGE 4
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 10 of 26




                  NEGLIGENCE RULE), IS CONSPICUOUS AND AFFORDS
                  FAIR AND ADEQUATE NOTICE.

Contract at p. 3. This conspicuous fair-notice statement is reinforced by § 19.10 which provides:

"CONTRACTOR [HESI] and COMPANY [BP] expressly acknowledge that the indemnities and

releases of liability contained in this CONTRACT require assumption of liability for the

negligence of the other party."7 Contract at p. 24.

         D.       Unlimited Nature of BP's Indemnity Obligation

         Likely in recognition of the relative risks and rewards assumed by HESI and BPXP,

§ 19.7 of the Contract makes clear the parties' intent to give the indemnity provisions their

broadest possible meaning and reach. Specifically, § 19.7 provides:

                  All exclusions, releases of liabilities and indemnities given under
                  this Clause (save for those under Clauses 19.3(a) [HESI
                  employees] and 19.3(b) [HESI equipment]) and Clause 21
                  [consequential losses] shall apply irrespective of cause and
                  notwithstanding the negligence or breach of duty (whether
                  statutory or otherwise) of the indemnified PARTY or any other
                  entity or party and shall apply whether or not the claim, liability,
                  damage, or expense in question is:

                  (a) predicated on sole, joint or concurrent fault, negligence
                  (whether active, passive or gross), strict liability, statutory duty,
                  contractual indemnity or otherwise at law, or

                  (b)   sought directly or indirectly by way of recovery,
                  indemnification, or contribution by any person or entity against
                  COMPANY GROUP, SERVICE COMPANY GROUP, or
                  CONTRACTOR GROUP as the case may be.

Contract at pp. 22-23.

         Thus, BP agreed, with certain inapplicable exceptions, to indemnify HESI from pollution

and contamination claims regardless of the cause of the claims, regardless of whether HESI

breached a duty to BP, regardless of whether the claims were based on HESI's negligence or

7
 HESI cites these Contract provisions solely to establish fair notice requirements. By citing to these sections of the
Contract, HESI does not concede any negligence on its part.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                       PAGE 5
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 11 of 26




gross negligence, regardless of whether the claims arose under a strict liability statute or were

based on statutory violations, and regardless of whether claims were sought directly or indirectly

against BP. The clear intent of the parties was for BP, as owner and operator, to indemnify

HESI, as a service provider, from pollution and contamination claims in all circumstances other

than claims involving HESI employees and equipment.

       E.      HESI's Indemnification Request

       Within days of the Incident, plaintiffs across the country began filing lawsuits against

entities connected with BP's drilling operations at the Macondo well, including various BP

entities (e.g., BP Exploration & Production, Inc.; BP America Production Co.; BP p.l.c.),

Anadarko entities, Moex entities, Transocean entities, Cameron International Corp., MI-

SWACO, and HESI. With a few exceptions, most of those lawsuits fall into one of two

categories: (1) personal injury/wrongful death lawsuits relating to workers who were injured or

died as a result of the Incident; and (2) pollution lawsuits brought by individuals, governmental

entities, and businesses alleging damages as the result of the oil spill from the Macondo Well.

       HESI is a named defendant in the vast majority of lawsuits alleging damages as the result

of the Incident and is also a named defendant in the Master Complaints filed in this Court

regarding the B1 and B3 Bundle claims, as well as the claims filed by the States of Louisiana and

Alabama and various other government entities. These lawsuits allege that HESI, among others,

is responsible for both personal injuries suffered aboard the Deepwater Horizon and subsequent

third party damages incurred as a consequence of pollution and contamination allegedly arising

out of the Incident.

       On May 5, 2010, HESI notified BP of the Incident, complying with its notice obligations

under § 19.8 of the Contract, which states that:



HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 6
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
    Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 12 of 26




                 If either PARTY becomes aware of any incident likely to give rise
                 to a claim under the above indemnities, they shall notify the other
                 and both PARTIES shall co-operate fully in investigating the
                 incident.

See Ex. C. In its notification letter, HESI tendered to BP the defense and indemnity of HESI in

all relevant lawsuits and claims related to the Incident, including the cases already filed as well

as similar cases to be filed in the future. Id. HESI requested that BP take over the costs of its

defense in cases related to the Incident and satisfy any judgments rendered and/or fund

settlements. Id. HESI further notified BP that it considered costs incurred in defense of the

Incident claims to fall within BP's indemnity and defense obligations under the Contract. Id.

Honoring its own indemnity obligations under the Contract, HESI also agreed to indemnify BP

and its contractors against the claims of HESI's employees.8

        On June 25, 2010, BP responded that it could not determine at that time whether it is

obligated to defend or indemnify HESI, that it was "premature for either BP or Halliburton to

take a definitive position," and reserved its rights in regard to the indemnities. See Ex. D.

Despite being a named defendant alongside HESI in claims relating to the Incident and being

familiar with the factual allegations of plaintiffs' claims, BP incorrectly claimed that HESI failed

to identify the factual and legal predicates on which it intends to rely in invoking §§ 19.4 and

19.6 of the Contract. Id. BP further indicated its mistaken belief that its indemnity obligations to

HESI could be altered by HESI's alleged breach of the Contract, by HESI's gross negligence, or

by actions by HESI that increased risk to BP. Id.

        On August 4, 2010, HESI responded to BP's indemnity denial and identified pertinent

provisions of the parties' Contract, reminded BP of its various obligations, and urged BP to


8
  Subsequent to the original indemnity demand, BP has made specific demand upon HESI to indemnify BP for
claims brought by two HESI employees. HESI has declined to do so at this point based upon BP's prior breach of its
indemnity obligations. See Exs. F and G.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                   PAGE 7
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
     Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 13 of 26




reconsider its reservations of rights with respect to HESI's request for indemnity. See Ex. E. BP

failed to responded to HESI's second request for defense and indemnity and has since continually

refused to accept its indemnity and defense obligations owed to HESI.

III.    HESI is Entitled to Summary Judgment Enforcing BP's Indemnity Obligations

        BP as the owner and operator of the Macondo well stood to make significant profits upon

its successful completion. It makes logical and business sense that BP would undertake the risks

associated with the possible upside of the venture. That logical and business sense is reflected in

the allocation of risks that is specifically set out in the Contract between HESI and BPXP. BP's

attempts to avoid its indemnity obligations ignore the specific terms of the Contract, and would

re-write, post-Incident, the parties' bargained for allocation of risk in a way the parties never

anticipated or agreed to in the terms of the Contract. This Court should enter summary judgment

fully enforcing BP's contractual indemnity obligations.

IV.     Standard of Review

        Summary judgment pursuant to Fed. R. Civ. P. 56 is proper if the moving party

establishes that there are no genuine issues of material fact and that the movant is entitled to

judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986); Baton Rouge Oil & Chem. Workers Union v. ExxonMobil Corp., 289 F.3d 373, 375 (5th

Cir. 2002). Summary judgment is particularly appropriate in cases, such as this one, involving

the interpretation of unambiguous provisions of a contract. Constitution State Ins. Co. v. Iso-

Tex, Inc., 61 F.3d 405, 407 (5th Cir. 1995).

V.      Argument

        HESI recognizes that many of the issues made the subject of this summary judgment

motion have been previously and extensively briefed by the Transocean Entities in their

summary judgment motion.        (Dkt. No. 4457-2, 4457-3).      To the extent applicable, HESI

HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 8
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 14 of 26




incorporates the legal arguments and authorities set out in Transocean's summary judgment

motion and memorandum in support thereof as support for enforcement of BP's indemnity

obligations owed to HESI.        HESI would also show the following regarding BP's specific

indemnity obligations to HESI.

        A.     HESI is Entitled to Indemnity Despite the Contribution Claims Between the
               Parties.

        As this Court is well aware, virtually all defense parties to this litigation have filed

contribution claims against one another. This includes BP, who filed contribution claims against

HESI.    However, the existence of these contribution claims does nothing to negate BP's

indemnity obligations to HESI. First, while the United States Supreme Court has clarified the

proper application of contribution claims based on proportional fault in general maritime claims,

McDermott, Inc., v. AmClyde, 511 U.S. 202 (1994), subsequent decisions have made clear that

contribution claims do not affect one party's indemnity obligation to another. See e.g., Boykin v.

China Steel Corp., 73 F.3d 539, 542 (4th Cir. 1996) ("any changes McDermott may have made

to the law of indemnity in admiralty we do not think affect an indemnity obligation . . . imposed .

. . by virtue of a written agreement."); Cargill Ferrous Int'l Div. v. M/V Princess Margherita, No.

98-3825, 2001 U.S. Dist. LEXIS 19033, *3 n. 1 (E.D. La. 2001) ("Actions for contractual

indemnity would not be barred by AmClyde.").

        In this case, the Contract specifically provides that BP will indemnify HESI regardless of

whether claims are "sought directly or indirectly by way of recovery, indemnification, or

contribution . . . ." Contract at § 19.7(b). Proportional responsibility between the parties does

nothing to alter BP's contractual indemnity obligations to HESI. While it is possible that HESI

may ultimately be assessed some percentage of responsibility for the Incident, BP has

contractually agreed to indemnify HESI for whatever that percentage may be. BP's general


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 9
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 15 of 26




contribution claims, and the contribution claims of other parties, do nothing to alter that

bargained for contractual obligation.

           B.     HESI is Entitled to Indemnity Against Contribution Claims Under OPA.

           In addition to general contribution claims, BP has also specifically alleged that it is

entitled to statutory contribution rights against HESI under OPA. However, any contribution

rights BP may claim remain subject to its indemnity obligations owed to HESI.

           OPA specifically addresses the viability of indemnification agreements, stating: "Nothing

in this Act prohibits any agreement to insure, hold harmless, or indemnify a party to such

agreement for any liability under this Act." 33 U.S.C.S. § 2710(a) (West. 1990) (emphasis

added). The language of the statute does not place any limits on the breadth or scope of such

indemnification other than to make clear that a Responsible Party may not transfer its liability

under the statute by way of such an agreement. 33 U.S.C.S. § 2710(b) (West 1990). Instead, the

language of the statute is broad, allowing parties to enter into indemnity agreements as to any

liability under the Act. The fact that, in other sections of the statute, Congress saw fit to

delineate between the nature of conduct that could and could not serve as a defense illustrates

that, if it had chosen to do so, Congress likewise could have limited the nature of indemnity

agreements allowed under the statute. See e.g., 33 U.S.C.S. § 2716(f)(1) (West 2010) (excusing

the guarantor of a Responsible Party if the Responsible Party engaged in willful misconduct, but

making no mention of gross negligence). Congress chose not to limit the scope and breadth of

allowable indemnity agreements as evidenced by the clear and unambiguous language of the

statute.

           OPA provides a carefully thought out mechanism for addressing oil spill liability and

damages, requiring Responsible Parties to assume liability for claims made by those damaged by

the oil spill. BP, among others, has been named as a Responsible Party relating to the Incident.

HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                       PAGE 10
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 16 of 26
     Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 17 of 26




         As both Transocean and Cameron have noted in previous summary judgment filings with

this Court (Dkt. 4457-3, 4694), the Fifth Circuit has never expressly decided the issue of whether

the gross negligence of an indemnified party nullifies any and all obligations under a contractual

indemnity. Indeed, the best example of the fact that this issue remains unresolved lies in the case

cited by BP (Todd Shipyards) in denying HESI's indemnity claim.10

         In Todd Shipyards Corp. v. Turbine Service, Inc., 674 F.2d 401, 411 (5th Cir. 1982), the

Fifth Circuit addressed the district court's finding that Todd Shipyards was guilty of gross

negligence.      In analyzing the issue, the Court noted that "[g]ross negligence, which will

invalidate an exemption from liability has been defined as harm willfully inflicted or caused by

gross or wanton negligence." Id., citing 6A CORBIN ON CONTRACTS § 1472 (1964 ed.). At least

two things are important regarding this quotation. First, the Fifth Circuit went on to reverse the




Nurses ‘R’ Special, Inc., No. 2:09-cv-1361, 2011 U.S. Dist. LEXIS 40216 *9-10 (D. Nev. 2011) (applying Texas
law) ("competing theories of liability do not relieve the indemnitor's duty to defend"); English v. BGP Int'l, Inc., 174
S.W.3d 366, 373 (Tex App.—Houston [14th Dist.] 2005, no pet.) ("When some theories of liability fail to give rise
to the duty to defend but other theories do, the party should be required to provide a defense."). Because all theories
of liability pled against HESI fall within the terms of BP’s contractual obligation to defend and indemnify, BP has a
current obligation to pay for HESI’s defense. But BP's defense obligation exists even if certain theories fell outside
the scope of the indemnity obligations.
10
   Whether a party may be indemnified for its own gross negligence under maritime law is an open question. In
Taylor v. Lloyd's Underwriters of London, 972 F.2d 666, (5th Cir. 1992), the Fifth Circuit held that "[w]e find that
these cases have not established a specific and controlling federal rule disallowing the recovery of punitive damages
from an insurance company. The district court, therefore, should have applied the law of the state having the
greatest interest in the resolution of the issues." Id. at 669. The Contract between BP and HESI was entered in
Texas between Texas parties and provides that it shall be construed under maritime law "wherever permissible," but
otherwise "the laws of the State of Texas shall apply." Contract at § 27.5. Under Texas law, the courts look to the
language of the parties’ agreement to determine the scope of the indemnification. In Atlantic Richfield Co. v.
Petroleum Personnel, Inc., the court noted that the express negligence rule requires scriveners to make it clear when
the intent of the parties is to exculpate an indemnitee for the indemnitee's own action. 768 S.W.2d 724, 726 (Tex.
1989); see also Webb v. Lawson-Avila Constr., 911 S.W.2d 457, 461 (Tex. App. – San Antonio 1995, writ denied)
("When the parties to an agreement use the terms ‘negligence' it is assumed they mean all shades of negligence").
While the Texas Supreme Court has not specifically decided whether a party may be indemnified for its own gross
negligence, Atlantic Richfield, 768 S.W.2d at 726 n. 2, see also Fairfield Ins. Co. v. Stephens Martin Paving, LP,
246 S.W.3d 653, 688 (Tex. 2008), the Contract was negotiated by sophisticated parties and specifically provides for
the indemnification of any "claim, liability, damage, or expense [which is] predicated on . . . negligence (whether
active, passive or gross)." Contract at §§ 19.7(a). The indemnification clause expresses clearly BP’s intent to
indemnify HESI for claims alleging gross negligence and therefore meets the express negligence rule.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                       PAGE 12
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
     Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 18 of 26




district court's finding of gross negligence, making the quoted statement dicta.11 Id. ("Thus, the

district courts' conclusion that Todd was guilty of gross negligence is erroneous.").

         Second, even if the Court's quoted language is an affirmative holding, it is inapplicable to

the facts of this case. The Court's quote specifically notes that gross negligence will invalidate

"an exemption from liability . . . ." Id. HESI does not seek an exemption or release from

liability, as may be the case when one party agrees to indemnify another party against damages

suffered directly by the indemnitor as a result of the indemnitee's gross negligence. Instead,

HESI seeks indemnity from BP for claims made and damages suffered by third parties, which

claims have been brought against BP, HESI, and others. Indeed, the Third Circuit has expressly

noted this distinction between exculpation and indemnification and affirmed that the latter does

not offend public policy. See First Jersey Nat'l Bank v. Dome Petroleum Ltd., 723 F.2d 335, 341

(3d Cir. 1983) ("The district court noted the vital distinction between exculpation and

indemnification and held that while public policy may preclude contractual exculpation for

reckless, willful, or grossly negligent conduct, it is not offended by indemnification against such

conduct."). Interestingly, the Third Circuit cites to the same provision of CORBIN ON CONTRACTS

that the Fifth Circuit relies upon for its statement in Todd Shipyards. Id.

         This same distinction and approach is endorsed by the Restatement.                           Although the

Restatement (Second) of Contracts § 195(1) states "[a] term exempting a party from tort liability

for harm caused intentionally or recklessly is unenforceable on grounds of public policy,"


11
   Likewise, other Fifth Circuit cases noting the issue have addressed it only as dicta. See Houston Exploration Co.
v. Halliburton Energy Services, Inc., 269 F.3d 528, 531 (5th Cir. 2001), in which the Court, citing Louisiana law,
noted that "[n]either party disputes that a party's gross negligence defeats its right to enforce an indemnity contract
of this kind." However, the Fifth Circuit ultimately determined that "the district court also clearly erred in finding
that Costlow's conduct amounted to gross negligence." Id. at 533; see also Becker v. Tidewater, Inc., 586 F.3d 358,
367 (5th Cir. 2009) ("It is undisputed that Baker escapes indemnity if Tidewater's actions leading to Seth's injuries
were grossly negligent . . . The district court found that Tidewater's actions were negligent but not grossly
negligent.").


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                      PAGE 13
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
     Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 19 of 26




comment b to this section of the Restatement provides "[t]he rule stated in this Section does not

apply to an agreement by a third person to indemnify a party against liability in tort." In other

words, in a situation such as the instant litigation, where the claims made relating to pollution

and contamination arising from the Incident are made by individual third-party claimants against

BP, HESI, and others, recognized legal authorities provide that indemnification, even in the face

of gross negligence, does not violate public policy. See e.g., In re Horizon Vessels, Inc., No. H-

03-3280, 2005 U.S. Dist. LEXIS 42110, *34 (S.D. Tex. 2005) (interpreting a clause providing

indemnification for damage "caused or contributed to by negligence or other fault (including

sole, joint, concurrent or gross negligence) . . . strict liability . . . or any other theory of legal

liability" as broad enough to cover both gross negligence and reckless conduct.).

        BP and HESI, as sophisticated businesses, entered into a contractual agreement that

includes specific indemnity provisions. As part of that agreement, BP expressly provided that its

indemnity of HESI for damages arising from pollution and contamination claims would apply

regardless of whether such claims are "predicated on sole, joint or concurrent fault, negligence

(whether active, passive or gross), strict liability, statutory duty, contractual indemnity or

otherwise at law . . . ." Contract at § 19.7(b) (emphasis added).12 BP's attempt to avoid its own

clear and undeniable contractual obligations represents nothing more than a situationally specific

attempt to apply the terms of the Contract in a way that only benefits BP and has nothing to do

with the allocation of risks agreed to by the parties. BP's efforts are not sanctioned by applicable

law or recognized authorities on contract interpretation, and should not be sanctioned by this




12
  Likewise, given the breadth of BP's indemnity, there is no basis for any argument BP may make that actions by
HESI that allegedly increased BP's risk or prejudiced its rights nullify BP's indemnity obligations. The cases cited
by BP in its indemnity response letter are inapposite. As a matter of contract interpretation, any such argument by
BP is without merit.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                    PAGE 14
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
     Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 20 of 26




Court. HESI requests that this Court grant its summary judgment motion and hold BP liable for

the indemnity obligations for which it contractually bargained.

         D.       Allegations of Breach of Contract Do Not Nullify BP's Indemnity
                  Obligations.

         As is the case with BP's allegations regarding the impact of gross negligence on its

indemnity obligations to HESI, any allegation that HESI breached the Contract also fails to

nullify BP's indemnity obligations.13

         The Fifth Circuit tangentially addressed the issue of whether a breach of a contract that

includes an indemnity provision can nullify the indemnity in Becker v. Tidewater, Inc., 586 F.3d

358, 368 (5th Cir. 2009).            In considering language from the Court's previous holding in

Marquette Transp. Co. v. Louisiana Mach. Co., 367 F.3d 398 (5th Cir. 2004), the Court noted:

                  However, the court in Marquette, after finding that the indemnity
                  agreement at issue was enforceable, states only that if the party
                  "had been found to be in breach of those warranties, perhaps our
                  application of the indemnity clause would be different." 367 F.3d
                  at 408. Marquette does not hold that breach of a contract
                  necessitates invalidation of an indemnity agreement included
                  therein. Even if the indemnity agreement could be invalidated by
                  Tidewater's breach of the time-charter contract, the district court
                  did not err in holding that Tidewater did not breach the contract.

Becker, 586 F.3d at 368.14

         BP has not alleged that HESI breached the Contract. Absent any such allegation, HESI's

performance under the Contract cannot form the basis of a nullification of BP's indemnity

obligations. However, even if BP had alleged a claim for breach of contract, any such breach

13
   While BP raised the specter of a breach of contract claim in its indemnity response letter, BP has not made a claim
for breach of contract against HESI in this litigation. Nonetheless, HESI addresses this point briefly to further
illustrate the breadth of BP's indemnity and the Fifth Circuit's openness to allowing parties the freedom to contract
with regard to indemnity provisions.
14
   Texas law is consistent. See Tesoro Petroleum Corp. v. Nabors Drilling USA, Inc., 106 S.W.3d 118, 127 (Tex.
App.—Houston [1st Dist.] 2002, pet. denied) ("Because an indemnity agreement is an independent covenant, Tesoro
is not excused from performing under the contract based on unsupported allegations that Nabors breached the
contract.").


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                                     PAGE 15
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 21 of 26




would not invalidate the Contract's indemnity provisions. This Court should grant HESI's

summary judgment motion and fully enforce HESI's indemnity rights against BP.

       E.      Allegations of Fraud Do Not Nullify BP's Indemnity Obligations.

       As noted previously, BP has made claims against HESI for fraud and fraudulent

concealment. Neither of these claims is sufficient to void BP's indemnity obligations to HESI.

       "[F]ederal courts sitting in admiralty apply common law fraud principles." Atel Mar.

Invs. v. Sea Mar Mgmt., No. 08-1700, 2010 U.S. Dist. Lexis 47834, at *9 (E.D. La. 2010) (citing

Black Gold Marine, Inc. v. Jackson Marine Co., 759 F.2d 466, 470 (5th Cir. 1985)); see also

Diesel Repower, Inc. v. Islander Invs. Ltd., 271 F.3d 1318, 1325 (11th Cir. 2001). Accordingly,

to prevail on a fraud claim, a party must prove that: (1) the deceiving party made a material

misrepresentation or nondisclosure; (2) the representation was false or the nondisclosure implied

that the facts were different from what the deceived party understood them to be; (3) the

deceiving party knew that the representation was false or that the nondisclosure implied the

existence of false facts; (4) the deceiving party intended the deceived party to rely on the

misrepresentation or nondisclosure; and (5) the deceived party detrimentally relied upon the

misrepresentation or nondisclosure. Atel Maritime Investors, 2010 U.S. Dist. Lexis 47834 at *9.

       Further, a claim for fraudulent concealment exists only if the defendant had a duty to

disclose information. Trustees of the Northwest Laundry & Dry Cleaners Health & Welfare

Trust Fund v. Burzynski, 27 F.3d 153, 157 (5th Cir. 1994) (applying Texas law) ("A defendant's

failure to disclose a material fact is fraudulent only if the defendant has a duty to disclose that

fact."); see also Bridges v. Metabolife Int'l, Inc., 119 Fed. Appx. 660, 663 (5th Cir. 2005)

(examining fraudulent concealment claim in the context of the tolling of statute of limitations

and holding "[m]ere concealment is insufficient to establish fraudulent concealment, the

defendant must have had a duty to disclose."); Bermuda Container Line Ltd. v. Int'l

HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                     PAGE 16
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 22 of 26




Longshoremen's Association, 192 F.3d 250, 258 (2d Cir. 1999) (noting requirement of duty to

disclose in a fraudulent concealment claim).

       At the outset, HESI denies that any of its alleged actions or inactions relating to the

Incident constitute fraud or fraudulent concealment. Likewise, HESI denies that the claims

asserted by BP are proper fraud and/or fraudulent concealment claims rather than breach of

contract claims improperly cloaked as fraud. See e.g., Kevin M. Ehringer Enters., v. McData

Servs. Corp., 646 F.3d 321, 325 (5th Cir. 2011) ("mere failure to perform contractual obligations

as promised does not constitute fraud but is instead a breach of contract.") (applying Texas law);

Davaco, Inc. v. Dunkin' Brands, Inc., No. 3:08-cv-0581-M, 2008 U.S. Dist. LEXIS 95356, *8

(N.D. Tex. 2008) ("The breaking of a promise is necessarily present in every breach of contract

action, and does not automatically transform a breach of contract claim into a tort.") (addressing

personal jurisdiction issues). Nonetheless, for purposes of this summary judgment motion, even

if HESI's actions did rise to the level of fraud or fraudulent concealment, BP is still required by

the Contract to indemnify HESI.

       As HESI has previously noted, BP's indemnity obligation under the Contract - including

indemnity for pollution and contamination claims arising from the reservoir - is extremely broad

and all-encompassing, and is enforceable irrespective of any purported fraud claims. Section

19.7 of the Contract provides:

               All exclusions, releases of liabilities and indemnities given under
               this Clause (save for those under Clauses 19.3(a) [HESI
               employees] and 19.3(b) [HESI equipment]) and Clause 21
               [consequential losses] shall apply irrespective of cause and
               notwithstanding the negligence or breach of duty (whether
               statutory or otherwise) of the indemnified PARTY or any other
               entity or party and shall apply whether or not the claim, liability,
               damage, or expense in question is:




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                        PAGE 17
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 23 of 26




               (a) predicated on sole, joint or concurrent fault, negligence
               (whether active, passive or gross), strict liability, statutory duty,
               contractual indemnity or otherwise at law, or

               (b)   sought directly or indirectly by way of recovery,
               indemnification, or contribution by any person or entity against
               COMPANY GROUP, SERVICE COMPANY GROUP, or
               CONTRACTOR GROUP as the case may be..

Contract § 19.7 (emphasis added).

        The intent of the parties could not be more clear. While HESI disputes any basis for BP's

fraud and fraudulent concealment claims, BP and HESI bargained for and intended that BP

would fully indemnify HESI for any and all claims related to pollution and/or contamination

arising from the reservoir regardless of the basis of the claims. Regarding BP's claim for

fraudulent concealment, BP expressly included contract language that its indemnity applied even

if HESI breached a duty "statutory or otherwise." Because any claim for fraudulent concealment

would necessarily involve a claim that HESI breached its duty to disclose necessary information,

the contract language makes clear that BP still owes HESI indemnity. Likewise, regarding BP's

fraud claim, the contract language makes clear that BP indemnifies HESI for pollution and/or

contamination claims arising from the reservoir "irrespective of cause" and whether predicated

"otherwise at law."

        This is the allocation HESI and BP bargained for and agreed to. As sophisticated

businesses, HESI and BP knew the relative risks and rewards relating to the drilling work to be

done.    With that knowledge, BP took on the risk associated with a blowout and

pollution/contamination claims. To allow BP to prevail on a contrary contractual interpretation

would reward BP with all the potential benefits of the drilling operation and production of oil,

while shifting the risk of the operations to HESI - who does not share in those benefits - in direct

contravention of the parties' agreement. See e.g., Brown v. Sea Mar Mgmt. L.L.C.., 288 Fed.


HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                         PAGE 18
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 24 of 26




Appx. 922, 924-25 (5th Cir. 2008) (quoting Corbitt v. Diamond M Drilling Co., 654 F.2d 329,

332 (5th Cir. 1981) ("indemnity agreements 'should be construed to cover all losses, damages, or

liabilities which reasonably appear to have been within the contemplation of the parties.'").

Neither HESI, nor the drilling industry at large, should be subjected to such a reallocation of risk

merely because BP has now decided that it does not wish to live by the terms of its specific,

detailed, and clear contractual agreement. This Court should grant HESI's summary judgment

motion.

VI.    Conclusion and Prayer

       BP and HESI bargained for and agreed to a specific risk allocation under the Contract.

By its terms, BP owes HESI indemnity for all pollution and/or contamination claims arising from

the reservoir and all claims relating to the blowout. BP's contribution claims and its allegations

of negligence, gross negligence, fraud, and fraudulent concealment do not alter its contractual

obligations. HESI requests that this Court grant its summary judgment motion and fully enforce

BP's indemnity obligations under the Contract.

Dated: November 30, 2011




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                      PAGE 19
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 25 of 26




                                           Respectfully Submitted,

                                           GODWIN RONQUILLO PC

                                           By: /s/ Donald E. Godwin
                                           Donald E. Godwin
                                           Attorney-in-charge
                                           State Bar No. 08056500
                                           DGodwin@GodwinRonquillo.com
                                           Bruce W. Bowman, Jr.
                                           State Bar No. 02752000
                                           BBowman@GodwinRonquillo.com
                                           Jenny L. Martinez
                                           State Bar No. 24013109
                                           JMartinez@GodwinRonquillo.com
                                           Floyd R. Hartley, Jr.
                                           State Bar No. 00798242
                                           FHartley@GodwinRonquillo.com
                                           Gavin E. Hill
                                           State Bar No. 00796756
                                           GHill@GodwinRonquillo.com
                                           Renaissance Tower
                                           1201 Elm, Suite 1700
                                           Dallas, Texas 75270-2041
                                           Telephone: (214) 939-4400
                                           Facsimile: (214) 760-7332
                                           and
                                           R. Alan York
                                           State Bar No. 22167500
                                           AYork@GodwinRonquillo.com
                                           Jerry C. von Sternberg
                                           State Bar No. 20618150
                                           JVonSternberg@GodwinRonquillo.com
                                           Misty Hataway-Coné
                                           State Bar No. 24032277
                                           MCone@GodwinRonquillo.com
                                           1331 Lamar, Suite 1665
                                           Houston, Texas 77010
                                           Telephone: 713.595.8300
                                           Facsimile: 713.425.7594

                                           ATTORNEYS FOR DEFENDANT
                                           HALLIBURTON ENERGY SERVICES, INC.




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                             PAGE 20
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
  Case 2:10-md-02179-CJB-DPC Document 4767-1 Filed 11/30/11 Page 26 of 26




                                  CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Memorandum in Support of Halliburton

Energy Services, Inc.'s Motion for Summary Judgment Regarding Indemnity Issues has been

served on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in

accordance with Pretrial Order No. 12, and that the foregoing was electronically filed with the

Clerk of the Court of the United States District Court for the Eastern District of Louisiana by

using the CM/ECF System, which will send a notice of electronic filing in accordance with the

procedure established in MDL 2179, on this 30th day of November, 2011.



                                           /s/ Donald E. Godwin
                                           Donald E. Godwin




HALLIBURTON ENERGY SERVICES, INC.'S MOTION FOR                                  PAGE 21
SUMMARY JUDGMENT REGARDING INDEMNITY ISSUES
1802671 v1-24010/0002 PLEADINGS
